                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT WINCHESTER

 UNITED STATES OF AMERICA                      )       MATTICE/CARTER
                                               )
        v.                                     )       CASE NO. 4:10-CR-17
                                               )
 JERRY SCOTT                                   )




                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on July 20, 2010.

 At the hearing, defendant entered a plea of guilty to the lesser included offense in Count One of

 the Indictment, conspiracy to manufacture, possess with intent to distribute and distribute a

 mixture and substance containing a detectable amount of methamphetamine, a Schedule II

 controlled substance, in violation of 21 USC §§ 846 and 841(a)(1) and 841(b)(1)(C), in exchange

 for the undertakings made by the government in the written plea agreement. On the basis of the

 record made at the hearing, I find that the defendant is fully capable and competent to enter an

 informed plea; that the plea is made knowingly and with full understanding of each of the rights

 waived by defendant; that it is made voluntarily and free from any force, threats, or promises,

 apart from the promises in the plea agreement; that the defendant understands the nature of the

 charge and penalties provided by law; and that the plea has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the lesser included offense in

 Count One of the Indictment be accepted, that the Court adjudicate defendant guilty of the

 charges set forth in the lesser included offense in Count One of the Indictment, and that the

 written plea agreement be accepted at the time of sentencing. I further recommend that

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 defendant be taken into custody pending sentencing in this matter. Acceptance of the plea,

 adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

 specifically reserved for the district judge.

         The defendant’s sentencing date is scheduled for Monday, November 29, 2010, at 9:00

 am.



                                                 s/William B. Mitchell Carter
                                                 UNITED STATES MAGISTRATE JUDGE




                                        NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or
 proceedings objected to, and must be filed and served no later than fourteen days after the plea
 hearing. Failure to file objections within fourteen days constitutes a waiver of any further right to
 challenge the plea of guilty in this matter. See 28 U.S.C. §636(b).




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